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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



 CALIFORNIA SPORTFISHING
 PROTECTION ALLIANCE,

                 Plaintiff,                             C.A. No. 2:21-cv-00073 (E.D. Cal.)

         v.                                               Case: 1:23−mc−00125
                                                          Assigned To : Kelly, Timothy J.
 PACIFIC BELL TELEPHONE COMPANY,                          Assign. Date : 11/16/2023
                                                          Description: Civil Misc. (O−DECK)
                 Defendant.


             NON-PARTY ENVIRONMENTAL DEFENSE FUND, INC.’S
    MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO QUASH OR LIMIT
  SUBPOENA, AND TO TRANSFER THIS MOTION TO THE ISSUING DISTRICT COURT

        Pursuant to Rules 26(b) and 45(d) of the Federal Rules of Civil Procedure, non-party

Environmental Defense Fund, Inc. (“EDF”) has moved this Court to enter an order quashing and/or

limiting the subpoena that Defendant Pacific Bell Telephone Company (“Pacific Bell”) served

upon it on August 8, 2023 (the “Subpoena”) (attached hereto as Exhibit A). 1 The Motion also asks

that it be transferred to the issuing court for resolution.

        The Subpoena was served in the matter captioned California Sportfishing Protection

Alliance v. Pacific Bell Telephone Company, No. 2:21-cv-00073, which is pending in the Eastern

District of California (the “California Lawsuit”). EDF has already produced a significant volume

of responsive documents, but believes that other documents sought by the Subpoena are not

discoverable because (i) they do not tend to prove or disprove any claim or defense in the

California Lawsuit, and (ii) their (at best) marginal value in the California Lawsuit is outweighed

by the undue burden that production would impose, and the chilling effect that requiring



1 Pacific Bell served a similar subpoena on EDF’s Senior Director for Safer Chemicals, Tom

Neltner, at his home in Maryland (the “Neltner Subpoena”). The Neltner Subpoena is the subject
of a substantially similar Motion to Quash or Limit, filed contemporaneously herewith.

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production would have on EDF’s core mission of research, education and advocacy in the public

interest.

        Accordingly, EDF has asked the Court to quash the Subpoena or limit EDF’s duty of

production to (i) documents showing the actual collection, sampling, testing, or analysis of the

submarine cables at issue in the California Lawsuit; (ii) the contracts between EDF and non-party

Marine Taxonomic Services, Ltd. (“MTS”) and related invoices; and (iii) communications with

Below the Blue (“BtB”) a small a small, non-profit, community-based organization that discovered

the Lake Tahoe cables more than a decade ago, and whose principal researchers also work for

MTS; and specifically excluding (i) communications with the Wall Street Journal and other media,

(ii) communications with Congressional staff; and (iii) documents and communications

concerning EDF’s and Mr. Neltner’s work on lead, generally. EDF’s Motion also asks that the

Court limit EDF’s duty of production to documents created between March 1, 2022, and August

23, 2023.

                                             PARTIES

        The plaintiff in the California Lawsuit is the California Sportfishing Protection Alliance (a

non-profit public benefit corporation), and the sole defendant is Pacific Bell.

        EDF is not a party to this lawsuit. It is a non-profit organization that is non-governmental

and non-partisan; it works with other non-profit organizations, as well as business and

governmental entities, to create solutions to the most serious environmental problems throughout

the world. EDF is a public interest organization whose core mission is research, education and

advocacy in the public interest. Tom Neltner is, and at all times relevant to this Motion was,

employed by EDF as its Senior Director for Safer Chemicals. As relevant to this Motion, EDF

acknowledges that Mr. Neltner’s activities were within the scope of his employment by EDF.




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                                        BACKGROUND

        The underlying lawsuit is a citizen suit filed by the California Sportfishing Protection

Alliance under the federal Resource Conservation and Recovery Act, 42 U.S.C. § 6972(a)(1)(B)

(“RCRA”), and the California Safe Drinking Water and Toxic Enforcement Act of 1986, Health

& Safety Code §§ 25249.5 et seq. (“Prop. 65”). Pacific Bell is a legacy telecommunications

company (owned by AT&T Teleholdings) that provides telecommunications services in

California.

        The original complaint was filed in January 2021, and the operative Second Amended

Complaint (the “Complaint”) was filed in August 2021 (attached hereto as Exhibit B). The

Complaint alleges that Pacific Bell is responsible for environmental contamination attributable to

two lead-clad submarine telecommunications cables that traverse portions of Lake Tahoe.

(Complaint ¶ 5.) The claims asserted in the Complaint are premised on water sampling and testing

that were conducted before the lawsuit was filed. The Complaint does not reference any other

cables or locations, nor does it mention EDF, Mr. Neltner, MTS or the Wall Street Journal. Thus,

its scope is quite narrow.

        In November 2021, the parties to the California Lawsuit entered into a voluntary consent

decree that provided for the removal of certain Lake Tahoe cables within 90 days of receiving

necessary approvals. The district court issued an order consistent with that agreement, but after

more than two years without the cables being removed, the consent decree was vacated by the

Defendant and active litigation ensued.

        Upon information and belief, it was after the Complaint had been filed and after the consent

decree entered, that the Wall Street Journal (the “WSJ”) began to investigate the extent to which

environmental contamination across the country was attributable to lead-clad telecommunication

cables in land, air and water. The WSJ’s investigation culminated in a series of news articles (the

“WSJ Articles”) that were published in July 2023, based in part on water, soil, sediment and metal

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samples obtained by MTS from six sites in nine states proximate to lead-clad telecommunications

cables across the country, and analysis by a third-party laboratory that indicated lead in nearby soil

or sediment likely originated in the lead-clad cable. 2

        Pacific Bell elected on July 27, 2023 to vacate the consent decree. One week later, it issued

the Subpoena, apparently based on information that EDF had played a role in educating the WSJ,

BtB 3 and MTS concerning environmental lead contamination and sampling generally, and in

funding MTS’ post-Complaint and post-consent decree sampling activities at six locations across

the country. At the same time, Pacific Bell issued a similar – but even more expansive – subpoena

to Mr. Neltner.

        The Subpoena demands that EDF produce a wide range of documents and communications

that are not confined to the issues in dispute in the California Lawsuit, and it does not respect

EDF’s role as a disinterested third party.4 Several requests are instructive:

        x   Request No. 7 demands all documents related to, and communications with, any person

            referenced in the WSJ Articles concerning any testing or analysis of lead-clad cables

            generally.

        x   Request No. 9 demands all documents and communications regarding lead-clad cables

            generally (i.e., regardless of location) or the California Lawsuit.

        x   Request No. 10 demands all documents and communications regarding any agreement

            between EDF and any party regarding lead-clad cables generally, the California


2
 The Subpoena defines the “WSJ Articles” to include five particular articles, “and any forthcoming
articles related to the same subject matter.” See Ex. A at Definitions.
3
 EDF acknowledges that Pacific Bell recently prevailed on a motion to compel to enforce a similar
third-party subpoena against BtB. EDF respectfully submits that ruling is neither persuasive nor
dispositive here, however, because BtB (which was not represented by counsel) did not file any
opposition to the motion to compel. Thus, the court did not have an opportunity to consider the
arguments raised by EDF here.
4 EDF has no financial stake in the outcome of the California Lawsuit, and it has no common

interest agreement with the plaintiff.
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            Lawsuit, or the Wall Street Journal’s investigation into environmental harm caused by

            lead-clad cables. 5

        x   Request No. 11 demands all documents and communications related to any research,

            sampling, testing, data, analysis, drafts, reports or studies that EDF requested,

            performed, or collected for or on behalf of the Wall Street Journal (or plaintiff or

            plaintiff’s counsel) relating to lead, generally.

        x   Request No. 12 demands all documents and communications related to statements

            about AT&T, Inc. (including subsidiaries) or any other telecommunications company

            referenced in the WSJ Articles. The request appears to be an unbounded deep-dive into

            anything that EDF has ever written about AT&T or any other telecommunications

            company referenced in the WSJ Articles (i.e., not limited to lead-clad cable, or even

            lead generally, and arguably inclusive of other wholly unrelated communications by

            EDF with participants in the telecommunications industry)).

        x   Request No. 14 demands all communications with any federal, state, or local

            governmental or regulatory agency related to lead-clad cables generally (i.e., not

            limited to Lake Tahoe).

        x   Request No. 15 demands all documents disseminated to any news outlet regarding lead-

            clad cables generally (i.e., not limited to Lake Tahoe).

        x   Request No. 16 demands all documents concerning any research or investigation on the

            possible or actual adverse effects of lead-clad cables generally (i.e., not limited to Lake

            Tahoe).



5 The Subpoena defined the “WSJ Investigation” to mean “any investigation, research, sampling,

testing, analysis, factfinding, or diligence that the WSJ conducted, gathered, commissioned, or
requested, relating to cables (of any type) or lead, leading up to, in connection with, or following
the WSJ Articles. Thus, even the definition is not limited to the Lake Tahoe cables that are the
subject of the California Lawsuit.
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        Compounding its substantive overbreadth, the Subpoena includes no backward or forward-

looking temporal limitation. In fact, the instructions specify that its requests are “continuing in

nature” such that EDF is directed to produce “further responsive information” that may come into

its possession in the future. EDF is nearly a 60-year-old public interest nonprofit that has worked

– indeed was founded – to address the harmful effects of environmental toxins, including lead

contamination, and it expects that work will continue long into the future. In this context, Pacific

Bell’s failure to include any temporal limitations is remarkable.

        In these respects and others, the Subpoena is breathtaking in its scope. Indeed, Pacific Bell

made no effort to limit the Subpoena to relevant factual matter (i.e.., data concerning the two cables

at issue); instead, the Subpoena seeks, essentially, every shred of information and opinion

concerning lead-clad cables, even lead generally that EDF, a public interest group that is well

known to work in this area, has ever had, will have or communicated. The Subpoena is an invasive

examination of EDF’s internal thinking, external communications, strategies and activities on the

subject of lead-clad cable contamination generally, and even lead generally (i.e., not limited to

lead-clad cable), notwithstanding that EDF is not a party to the lawsuit, and its opinion(s) regarding

lead and lead-clad cables are irrelevant. The Subpoena is a fishing expedition; and the marginal

value (if any) that these documents would have for the California Lawsuit is outweighed by the

undue burden and chilling effect that requiring production would impose. See Fed. R. Civ. P. 26(b)

(defining the scope and limits of discovery); discussion infra.6

        EDF timely informed Pacific Bell of its objections to the Subpoena (see Exhibit C), and it

proceeded to collect potentially responsive documents according to search terms, custodians and

a date range provisionally agreed to by Pacific Bell during the course of several meet-and-confer


6 Request No. 11 is particularly troubling in as much as it seeks documents concerning lead

generally, which would include myriad applications having nothing whatever to do with lead-clad
cables or contamination of Lake Tahoe.

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discussions. Pursuant to that process, EDF produced (on September 8, 2023, and October 24,

2023), on behalf of itself and Mr. Neltner, 8,967 pages of documents directly responsive on the

issue of the two Lake Tahoe cables and, in a show of good faith aligned with public interest in

disclosing the data notwithstanding its irrelevance to the California Lawsuit, produced documents

on the other sites as well. EDF did so without insisting upon a quid pro quo agreement to narrow

the scope of the Subpoena or withdraw Mr. Neltner’s equally overbroad subpoena. 7

        The documents that EDF produced include everything that might be relevant to prove or

disprove the claims and defenses of either party in the California Lawsuit – and more, including:

            x   all documents showing the collection, sampling, testing, and analysis of the two

                submarine cables at issue in the California Lawsuit, which data EDF had received

                from MTS;

            x   the contracts between EDF and MTS, and related invoices and laboratory contracts;

                and

            x   all documents related to sampling, testing, and analysis performed on the Lake

                Tahoe cables, as well as data about extraneous sites in Idaho, Louisiana, Michigan,

                Oregon, Pennsylvania, New Jersey, New York and West Virginia. 8

Thus, EDF has produced all documents in its possession, custody or control related to sampling,

testing and analysis performed on the Lake Tahoe cables (i.e., the data that may prove or disprove

the existence of contamination alleged in the Complaint), subject to an exclusion for attorney-




7
 EDF’s document collection and production included documents in the possession, custody or
control of Mr. Neltner, because his possession of them was within the scope of his employment
by EDF.
8
 EDF does not agree that documents concerning sites other than Lake Tahoe are relevant to the
California Lawsuit. EDF produced this additional data solely as a good faith gesture, and because
disclosure is in the public interest.
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client privilege and communications with the Wall Street Journal, other media and Congressional

staff.

         What EDF has not produced are documents about the data (e.g., what EDF or others may

think about the analytical results, or the steps that EDF or others should take in light of those

results). Nor has EDF produced extraneous documents and communications concerning its

knowledge and initiatives regarding lead-clad cables or lead generally. EDF has not produced these

documents because it believes they are not relevant to prove or disprove a claim or defense in the

California Lawsuit. Simply put, what EDF thinks about the Lake Tahoe (or other) data, or potential

strategies in response thereto, is irrelevant and therefore not discoverable. But, even if the

additional documents that Pacific Bell seeks had some marginal value in the California Lawsuit

(which they do not), that value would be outweighed by the undue burden that additional

production would impose, and the chilling effect that requiring production would have on EDF’s

core mission of sponsoring and conducting research, education and advocacy in the public interest.

         EDF filed this Motion to obtain the Court’s guidance and instruction concerning the scope

of its obligations – which EDF respectfully submits should be limited, and for an award of

reasonable attorney fees and costs to respond to the Subpoena and pursue this Motion.

         Finally, because this Motion rests primarily on an argument concerning relevance vel non

of the requested materials, EDF has asked that this Motion be transferred for resolution by the

court where the California Lawsuit is pending.

                                          DISCUSSION

         Parties “may obtain discovery regarding any nonprivileged matter that is relevant to any

Party’s claim or defense and proportional to the needs of the case, considering the importance

of the issues at stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery in resolving the



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issues, and whether the burden or expense of the proposed discovery outweighs its likely

benefit….” See Fed. R. Civ. P. 26(b) (emphasis added).

        A party’s right to discovery is not unlimited. Hickman v. Taylor, 329 U.S. 495, 507 (1947).

The Court must “quash or modify a subpoena that… subjects a person to undue burden.” Fed. R.

Civ. P. 45(d)(3)(A)(i-iv). “If a subpoena compels disclosure of information that is not properly

discoverable, then the burden it imposes, however slight, is necessarily undue: why require a party

to produce information the requesting party has no right to obtain?” AF Holdings, LLC v. Does 1-

1058, 752 F.3d 990, 995, 410 U.S. App. D.C. 41, 46 (2014). “The trial court’s discretion extends

to determining the relevance of discovery requests, assessing their oppressiveness, and weighing

these factors in deciding whether discovery should be compelled.” In re Multi-Piece Rim Prod.

Liab. Litig., 653 F.2d 671, 679 (D.C. Cir. 1981). “[C]oncern for the unwanted burden thrust upon

non-parties is a factor entitled to special weight in evaluating the balance of competing needs.”

Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998). See also Watts v. S.E.C., 482

F.3d 501, 509 (D.C. Cir. 2007) (“The Rule 45 ‘undue burden’ standard requires district courts

supervising discovery to be generally sensitive to the costs imposed on third parties.”).

        Because Rule 45 incorporates the relevancy requirement of Federal Rule of Civil Procedure

26, “the Court must first consider ‘whether the discovery sought is relevant to a party’s claim or

defense in the underlying litigation.’ ” Diamond Servs. Mgmt. Co., LLC v. Knobbe, Martens, Olson

& Bear, LLP, 339 F.R.D. 334, 338 (D.D.C. 2021) (quoting BuzzFeed, Inc. v. DOJ, 318 F. Supp.

3d 347, 356 (D.D.C. 2018)). The party seeking the third-party discovery bears the burden of

demonstrating its relevance to the underlying litigation. See Tequila Centinela, S.A. de C.V. v.

Bacardi & Co. Ltd., 242 F.R.D. 1, 9 (D.D.C. 2007). “Discovery [ ] is not intended to be a fishing

expedition, but rather is meant to allow the parties to flesh out allegations for which they initially

have at least a modicum of objective support.” Diamond Services, 339 F.R.D. at 340 (quashing

subpoena and finding that “The slim chance of a ‘likely benefit’ from enforcing” the subpoenas at

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issue “further weighs against” compelling the discovery) citing Cleveland-Goins v. City of New

York, No. 99-cv-1109, 1999 WL 673343, at *2 (S.D.N.Y. Aug. 30, 1999)).

        When determining whether a subpoena imposes undue burden and expense on the person

to whom it is directed, courts may consider whether the materials or things requested are relevant

to the subject matter of the action or to the investigation being pursued. Boeing Airplane Co. v.

Coggeshall, 280 F.2d 654, 3 Fed. R. Serv. 2d 799 (D.C. Cir. 1960). Although relevance is

construed broadly, it is not without its limits and “does not encompass discovery of information

with ‘no conceivable bearing on the case.’” Anton v. Prospect Café Milano, Inc., 233 F.R.D. 216,

218 (D.D.C. 2006) (internal citations omitted). A third-party subpoena is limited in scope by the

relevance requirements of Civil Rule 26(b)(1). See Hesco Bastion Ltd. v. Greenberg Traurig LLP,

2009 WL 5216932, at *3-4 (D.D.C. Dec. 23, 2009).

        To determine whether the likely benefit outweighs the burden or expense of the requested

discovery, for purposes of the proportionality requirement for discovery, courts consider a number

of factors: importance of the issues at stake in the action; amount in controversy; parties’ relative

access to relevant information; parties’ resources; importance of the discovery in resolving the

issues; and the actual burden or expense of the requested discovery. Wall v. Reliance Standard Life

Insurance Company, 341 F.R.D. 1, 5–6 (D.D.C. 2022) citing Fed. R. Civ. P. 26(b)(1). “[N]o single

factor is designed to outweigh the other factors in determining whether the discovery sought is

proportional,” and “all proportionality determinations must be made on a case-by-case basis.”

Oxbow Carbon & Minerals LLC v. Union Pacific Railroad Company, 322 F.R.D. 1, 6 (D.D.C.

2017) (internal citations omitted).

        Moreover, “[a] party or attorney responsible for issuing and serving a subpoena must take

reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena.

The court for the district where compliance is required must enforce this duty and impose an



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appropriate sanction--which may include lost earnings and reasonable attorney’s fees--on a party

or attorney who fails to comply.” Fed. R. Civ. P. 45(d)(1).

    A. The Court Should Quash or Limit the Subpoena to Exclude Information That is Not
       Discoverable.

        The Subpoena demands production of information that is not discoverable because it would

not tend to prove or disprove any claim or defense in the California Lawsuit.

        The California Lawsuit is narrow: it is an RCRA and Prop. 65 citizen suit focused on

environmental harm allegedly caused by two submarine telecommunications cables in Lake

Tahoe. Documents that show the collection, sampling, testing and analysis of those cables are

relevant, and they have been produced. Consistent with EDF’s public interest mission, all data

related to collection, sampling, testing and analysis of lead-clad cables at other locations across

the country, done as part of the same investigation, have also been produced as a gesture of good

faith, even though not relevant to the actual Complaint. The additional documents that Pacific Bell

demands – i.e., documents that do not describe the location, sampling and analytical data itself –

are not discoverable because they do not tend to prove or disprove any party’s claims or defenses.

See Fed. R. Civ. P. 26(b). Requiring production of these extraneous documents would be unduly

burdensome and disproportionate to the needs of the case, and it would have a chilling effect on

EDF’s important public interest work.

        For example, the Subpoena demands that EDF produce all documents and communications

concerning lead-clad cables generally (i.e., untethered to the location of cables at issue), including

its own research and investigation, its internal thinking, and its external communications with

governmental regulators about those issues. See Ex. A (Subpoena), Req. Nos. 9, 14, 15 & 16.

Pacific Bell essentially demands production of all documents and communications that EDF has

ever had, internally or with others, about lead-clad cables generally, and about AT&T or other

telecommunications companies referenced in the WSJ articles. And, in one instance, the Subpoena

demands that EDF produce all documents and communications related to any research, sampling,
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testing, data, analysis, drafts, reports or studies that EDF requested, performed, or collected for or

on behalf of the Wall Street Journal relating to lead generally (i.e., not tethered to lead-clad cables

or Lake Tahoe). See id., Req. No. 11. These sweeping demands go well beyond the issues in

dispute, and such broad disclosure would serve no productive purpose.9 The California Lawsuit

is about two particular cables in Lake Tahoe, and nothing more.

        Separate and apart from Pacific Bell’s improper demand for information unrelated to Lake

Tahoe, its demand for discovery into what EDF thinks about lead-cable contamination is utterly

irrelevant to Pacific Bell’s responsibility for contamination in Lake Tahoe. EDF has produced all

documents showing the actual collection, sampling, testing, and analysis of the two lead-clad

cables at issue, as well as the data related to collection, sampling, testing and analysis of lead-clad

cables in other locations around the country in the same investigation; but its internal and external

thoughts about the lead-clad cables, the Wall Street Journal’s investigation, how best to interpret

the Lake Tahoe data, or what public interest might be considered in light of the data, simply are




9 The Neltner Subpoena goes further than the EDF Subpoena, demanding that he produce, among

other things, “all Documents and Communications related to any research, sampling, testing, data,
analysis, drafts, reports, or Studies You requested performed, or collected for or on behalf of . . .
the Environmental Defense Fund . . . concerning or discussing lead” (i.e., not only lead-clad
cables). This request would extend, for example, to lead paint and lead in water supplies or food.
The obvious overbreadth is addressed more fully in the separate Motion to Quash or Limit the
Neltner Subpoena.
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not relevant to any party’s claim or defense in the California Lawsuit.10 What arguably is relevant

is the data, and the data has been produced. 11


     B. The Court Should Quash or Limit the Subpoena Because It Imposes an Undue
        Burden.

        The Court “must quash or modify a subpoena that … subjects a person to undue burden.”

Fed. R. Civ. P. 45(d)(3)(A)(iv). Factors to be considered in determining whether a subpoena

imposes an undue burden include: (i) whether the discovery sought is unreasonably cumulative or

duplicative, (ii) whether the discovery sought can be obtained from some other source that is more

convenient, less burdensome, or less expensive, and (iii) whether the discovery sought is

proportional to the needs of the case, taking into account the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information, the

parties’ resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. BuzzFeed, Inc. v. U.S.




10 Two categories of external communications merit further attention. EDF has withheld
communications with the Wall Street Journal, other media and Congressional staff on the basis
that they are cumulative (i.e., they merely recite data that EDF separately produced to Pacific Bell)
and/or describe EDF’s impressions of the data and what should be done about it. Requiring a third
party to produce cumulative discovery, even if arguably relevant, would be unduly burdensome,
and requiring a non-profit organization such as EDF to disclose its communications with entities
unrelated to the claims in the California Lawsuit would have a serious chilling effect on EDF and
others. In both instances, requiring production would be disproportionate to the needs of the case
because of the marginal value the information would provide in view of the fact that EDF already
produced the data itself.
11 Pacific Bell has asserted that EDF’s discussions and opinions about the sampling and data are

relevant to show EDF’s supposed bias in funding and guiding the data collection and analysis
effort. But, any bias on the part of EDF is not relevant to the California Lawsuit because EDF is
neither a party nor a witness. The only bias that matters “is that of a witness or party in the case,
not of an unrelated non-party.” North Carolina Right to Life, Inc. v. Leake, 231 F.R.D. 49, 51
(D.D.C. 2005) (held that organization was not entitled to compel discovery in question, since
asserted reason for organization’s need for information relating to the non-profit’s contacts and
their funding relationships, bias, was irrelevant, and burden on non-parties was great).

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Department of Justice, 318 F. Supp. 3d 347, 358 (D.D.C. 2018) (quoting Fed. R. Civ. P. 26(b)(1),

(2)(C)).

        The foregoing analysis is particularly significant when discovery is sought from a non-

party. See Watts v. SEC, 482 F.3d 501, 509 (D.C. Cir. 2007) (“The Rule 45 ‘undue burden’

standard requires district courts supervising discovery to be generally sensitive to the costs

imposed on third parties.”).

        As discussed supra, the requests that are the subject of this Motion seek information that

is not discoverable because it would not tend to prove or disprove any claim or defense in the

California Lawsuit (i.e., it is not discoverable within the meaning of Rule 26(b)). Necessarily,

therefore, the burden that Pacific Bell seeks to impose on EDF is undue because it is not aimed at

proving or disproving any fact of consequence.

        Even if the information sought had some marginal relevance to the case at hand, however,

its value is outweighed by the human and financial burden of production, and the chilling effect

that enforcement would have on EDF’s public interest mission. Pacific Bell is on a mission to (i)

harass EDF to such a degree that it will stand down in its efforts to advocate in the public interest,

and (ii) learn everything that EDF knows, believes, does and may do about pollution caused by

lead-clad cables or lead in any location and under any circumstances. These are not proper

purposes of discovery, and approving that effort would impose a substantial burden and expense

on EDF to respond – with far-reaching and detrimental precedential effect. Indeed, EDF (and

other similarly-situated non-profit public interest organizations) should be able to investigate and

advocate in the public interest without fear that alleged wrongdoers will be free to burden it/them

with costly and invasive examinations of all its/their activities untethered by the issues actually in

litigation and pursued in litigation to which EDF is not a party.

        EDF already has devoted inordinate human and financial resources to collecting, reviewing

and producing data concerning the sampling and analysis of lead-clad cable contamination in Lake

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Tahoe. Given the narrow scope of the California Lawsuit, that is more than should be required of

a non-party.

    C. The Court Should Award EDF its Reasonable Fees and Costs.

        The party responsible for issuing a subpoena must “take reasonable steps to avoid imposing

undue burden or expense on a person subject to that subpoena.” Fed. R. Civ. P. 45(d)(1). Pacific

Bell has taken no such steps. Indeed, as discussed more fully supra, Pacific Bell issued a Subpoena

that demands the production of documents well beyond any reasonable understanding of

discoverability. The Subpoena is not limited to data showing the nature and extent of

contamination attributable to the two Lake Tahoe cables at issue in the California Lawsuit, but

instead demands virtually every document in EDF’s possession, custody or control concerning

lead-clad cables generally. EDF has devoted considerable time and effort to attempt to resolve the

issues presented by this Motion, but Pacific Bell has not agreed to narrow the scope of the

Subpoena – repeatedly emphasizing during the course of several meet-and-confer discussions that

there would be “no agreement” on any disputed issue (e.g., date range, documents sought) until

there is an agreement on all issues. There is no such agreement.

        Under these circumstances, EDF respectfully submits that Pacific Bell failed to take

reasonable (or any) steps to avoid imposing an undue burden and expense on EDF, and that the

Court should, therefore, direct Pacific Bell to reimburse EDF its reasonable and necessary

attorneys’ fees and costs incurred to respond to the Subpoenas and to pursue this Motion.

    D. The Court Should Transfer this Motion to the Eastern District of California.

        The Subpoena was not issued by this Court, but it demands compliance (i.e., the production

of documents) at the Washington, D.C. office of Pacific Bell’s counsel. See Ex A. Accordingly,

EDF was required to file this Motion in this Court. See Fed. R. Civ. P. 45(d)(3) (“the court for the

district where compliance is required must quash or modify a subpoena…”). This Court may,

however, transfer this Motion to the issuing court (i.e., the Eastern District of California) if the
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person subject to the Subpoena (i.e., EDF) consents, or if the Court finds exceptional

circumstances. See Fed. R. Civ. P. 45(f). EDF expressly consents to such a transfer because it

believes the issuing court will be in the best position to resolve issues of relevance and

discoverability. Moreover, should other non-parties similarly move to quash or limit subpoenas on

similar grounds, the issuing court will be in the best position to resolve such motions in a consistent

manner.

                                          CONCLUSION

        For the foregoing reasons, Environmental Defense Fund respectfully requests that its

Motion be granted.

DATED: November 16, 2023
                                               Respectfully submitted,
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14 CALIFORNIA SPORTFISHING PROTECTION ALLIANCE

15
                                       UNITED STATES DISTRICT COURT
16
                                      EASTERN DISTRICT OF CALIFORNIA
17

18
     CALIFORNIA SPORTFISHING                        )   Case No. 2:21-CV-00073-MCE-JDP
19   PROTECTION ALLIANCE,                           )
                                                    )
20                                                  )
              Plaintiff,                            )   SECOND AMENDED COMPLAINT FOR
21                                                  )   DECLARATORY AND INJUNCTIVE RELIEF
        v.                                          )   AND CIVIL PENALTIES
22                                                  )
     PACIFIC BELL TELEPHONE COMPANY,                )   (Federal Resource Conservation and Recovery
23                                                  )   Act, 42 U.S.C. § 6972(a)(1)(B) and California Safe
              Defendant.                            )   Drinking Water and Toxic Enforcement Act, Cal.
24                                                  )   Health & Safety Code § 25249.5)
                                                    )
25

26 //
27 //

28 //

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 1           CALIFORNIA SPORTFISHING PROTECTION ALLIANCE (“CSPA” or “Plaintiff”), by and

 2 through its counsel, hereby alleges:

 3 I.        JURISDICTION AND VENUE

 4           1.      This is a civil suit brought under the citizen suit enforcement provision of the Federal

 5 Resource Conservation and Recovery Act, 42 U.S.C. § 6972(a)(1)(B) (“RCRA”) and the California Safe

 6 Drinking Water and Toxic Enforcement Act of 1986 (codified as Cal. Health & Safety Code § 25249.5

 7 et seq. (“Prop 65”) against Pacific Bell Telephone Company (“Pac Bell” or “Defendant”). This Court

 8 has subject matter jurisdiction over the parties and the subject matter of this action pursuant to RCRA

 9 Section 7002(a)(1)(B), 42 U.S.C. § 6972(a)(1)(B), 28 U.S.C. § 1331 (an action arising under the laws of

10 the United States), 28 U.S.C. § 1367 (supplemental jurisdiction), Cal. Health & Safety Code §§ 25249.5,

11 25249.7(a) and (b) (Prop 65 discharge prohibition and citizen enforcement provisions), and 28 U.S.C. §§

12 2201–2202 (power to issue declaratory relief in case of actual controversy and further necessary relief

13 based on such a declaration).

14           2.      As required by RCRA and Prop 65, between August 6, 2020 and August 20, 2020,

15 Plaintiff provided Defendant with a written Notice of Violation of Federal Law and Notice of Intent to

16 Begin Citizen Enforcement Action (“Notice Letter”), a true and correct copy of which is attached to this

17 Complaint as Exhibit A, and which is incorporated by reference in full. See 33 U.S.C. § 1365(b)(1)(A);

18 40 C.F.R. § 135.2(a)(1). The Notice Letter was provided by certified mail return receipt requested, and

19 by personal service on Defendant’s Chief Executive Officer and agent for service of process. Plaintiff

20 mailed a copy of the Notice Letter to the Administrator of the United States Environmental Protection

21 Agency (“EPA”); the Administrator of EPA Region IX; the California Attorney General, the Acting

22 Director of the California Department of Resources, Recycling and Recovery, and the District Attorneys

23 of the California counties of El Dorado and Placer, pursuant to 40 C.F.R. § 254.2 and Cal Health &

24 Safety Code § 25249.7(d). Each of these Notice Letters were delivered to the intended recipients no

25 later than August 27, 2020.

26           3.      More than ninety days have passed since Plaintiff served the Notice Letter on Defendant

27 and the agencies. Plaintiff is informed and believes, and thereupon alleges, that neither the EPA nor the

28 State of California has commenced or is diligently prosecuting a court action to redress the violations

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 1 alleged in this Complaint.

 2           4.      Venue is proper in the Eastern District of California pursuant to RCRA Section 7002(a),

 3 42 U.S.C. § 6972(a) and Cal. Civ. Proc. Code § 393(a), because the sources of the violations are located

 4 within this District. Venue is also proper under 28 U.S.C. § 1391(b) because a substantial part of the

 5 events or omissions giving rise to Plaintiff’s claims occurred in this District. Intra-district venue is

 6 proper in Sacramento, California, because the sources of the violations are located in El Dorado and

 7 Placer Counties.

 8 II.       INTRODUCTION

 9           5.      This Complaint seeks relief for Defendant’s ongoing violations of RCRA and the

10 discharge prohibition provisions of Prop 65. Defendant Pac Bell operated two submarine

11 telecommunications cables (“Cables”) that traversed portions of Lake Tahoe. These Cables are situated

12 on the bottom of Lake Tahoe and, if measured end-to-end, the total length of the Cables would be

13 approximately 41,600 feet. The two Cables share a similar structure. Each Cable has an outer coating

14 of jute impregnated with tar/bitumens. Inside this jute coating are 0.25 inch steel rods that run the length

15 of the submarine portions of the Cables. These steel rods are meant to protect the inner portion of each

16 Cable. The inner portion of each cable consists of a lead jacket with walls approximately 0.25 inches

17 thick. This lead jacket surrounds the copper strands and is meant to protect them from contact with

18 water. Each foot in length of the Cables contains approximately 3.3 pounds of lead. The portions of the

19 Cables that are at issue in this case – laying on the bottom of Lake Tahoe – therefore contain

20 approximately 137,000 pounds (more than 68 tons) of lead.

21           6.      The Cables are no longer operative. At some point in the past, Defendant replaced the

22 Cables with new, more modern cables, placed either in the same location or routed through a different

23 location. Once a Cable was replaced, it – and all of the lead it contained – was abandoned on the bottom

24 of Lake Tahoe. Both of the Cables at issue in this case have been abandoned. One of the Cables has

25 been cut at one or both ends; both Cables appear to not have been in service for years.

26           7.      Plaintiff has obtained a portion of one of the Cables and has tested it to determine

27 whether the Cables are likely to leach lead into Lake Tahoe. A piece of the Cable approximately 40

28 centimeters in length was submerged in a plastic container of Lake Tahoe water. A sample was taken of

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 1 the water after one day and analysis of that sample showed that enough lead had dissolved from the

 2 Cable into the water to cause the water to have a concentration of 650 micrograms of lead per liter of

 3 water. A second sample of the water was taken after seven days and analysis of that sample showed that

 4 enough lead had continued to be dissolved from the Cable to raise the concentration of lead in the water

 5 to 1,500 micrograms per liter. A reasonable inference that can be drawn from this data is that lead in the

 6 Cables is being disseminated into the aquatic environment of Lake Tahoe, and that humans and wildlife

 7 who make contact with, or who drink, Lake Tahoe water are exposed to the toxic heavy metal, lead.

 8           8.      Lead is a chemical that is known to the State of California to cause cancer and

 9 reproductive toxicity within the meaning of Cal. Health & Safety Code § 25249.8. California Code of

10 Regulations, title 27, section 27001, subparagraphs (b) and (c). Various agencies of California and the

11 United States government – including California’s Office of Health Hazard Assessment, the federal

12 Occupational Safety and Health Administration, the federal Department of Health & Human Services

13 and the federal Environmental Protection Agency – have determined that exposure to lead impairs

14 development of the central nervous system in species that have central nervous systems, including birds,

15 fish and mammals, including humans, at blood lead levels as low as can be measured. Each of these

16 agencies has determined that exposure to lead causes sterility in male mammals, including male humans;

17 and the Department of Health & Human Services and the Environmental Protection Agency have both

18 determined that exposure to lead delays the onset of puberty in female mammals, including female

19 humans.

20           9.      Lake Tahoe is a water of the State of California. The Regional Water Quality Control

21 Board for the Lahontan Region (“Regional Board”), as part of its Water Quality Control Plan for the

22 Lahontan Region (“Basin Plan”), has determined Lake Tahoe to be an existing source of municipal and

23 residential water supply. The Basin Plan also states that the Regional Board has determined that the

24 beneficial uses of Lake Tahoe also include wildlife habitat and water contact recreation. Lake Tahoe is

25 thus a water of the State of California for purposes of California Fish & Game Code § 5650 and is a

26 source of drinking water within the meaning of California Health & Safety Code §§ 25249.5 and
27 25249.11(d). People boat on and swim in Lake Tahoe and make physical contact with its waters. Lake

28 Tahoe is habitat for many species of water fowl, for fish-eating species of birds such as osprey, fishers,

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 1 eagles, and others members of the accipitridea family of birds, for many species of fish, and for marine

 2 mammals such as otters.

 3 III.      THE PARTIES

 4           10.     Plaintiff CSPA is a non-profit public benefit corporation organized under the laws of

 5 California, based in Stockton, California. CSPA is dedicated to the preservation, protection and defense

 6 of the environment, wildlife and natural resources of California waters, including the waters of Lake

 7 Tahoe. Members of CSPA boat on and swim in Lake Tahoe, and drink water drawn from the Lake.

 8 Members of CSPA use Lake Tahoe to fish, boat, kayak, swim, bird watch, view wildlife, and engage in

 9 scientific study. Members of CSPA also work on and in the waters of Lake Tahoe, making physical

10 contact with those waters on a regular basis. Lead that dissolves from the Cables threatens or impairs

11 each of those uses and/or contributes to such threats and impairments. For example, lead that dissolves

12 from the Cables is present in Lake Tahoe water. When CSPA members contact or drink that water, their

13 body burden of lead is increased and they, and/or their children, face a concomitant increased risk of

14 sterility, neurodevelopmental toxicity, cancer, and other physical ailments associated with exposure to

15 lead. Thus, the interests of CSPA’s members have been, are being, and will continue to be adversely

16 affected by Defendant’s ongoing failure to comply with RCRA and Prop 65. The relief sought herein

17 will redress the harms to Plaintiff caused by Defendant’s activities because that relief will significantly

18 reduce lead being discharged from Defendant’s Cables into Lake Tahoe. To further its goals, CSPA

19 actively seeks federal and state agency implementation of state and federal laws that protect the integrity

20 of California waters, and as necessary, directly initiates enforcement actions on behalf of itself and its

21 members.

22           11.     Pacific Bell Telephone Company (“Pac Bell”) is a corporation that provides

23 telecommunication services in California.

24           12.     Pac Bell had the telecommunications Cables denoted in the Notice Letter as Cables A and

25 B (herein referred to as Emerald Bay Cable and 7-Mile Cable, respectively) (including their lead

26 components) installed in Lake Tahoe.
27           13.     Pac Bell owned and operated these two telecommunications Cables as part of its business

28 providing telecommunication services.

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 1 IV. LEGAL BACKGROUND

 2           A.      Resource Conservation and Recovery Act

 3           14.     Congress enacted RCRA to provide a remedy for harm caused by disposal of solid waste

 4 that may present an imminent and substantial endangerment to health or the environment. 42 U.S.C. §

 5 6972(a)(1)(B) authorizes commencement of a civil action to enjoin such disposal of waste. RCRA

 6 allows such a civil action to be brought against, “any person . . . who has contributed or who is

 7 contributing to the past or present handling, storage, treatment transportation or disposal of any solid or

 8 hazardous waste which may present in imminent and substantial endangerment to health or the

 9 environment.”

10           B.      California’s Safe Drinking Water & Toxic Enforcement Act (“Proposition 65”)

11           15.     The People of the State of California have declared in Proposition 65 their right “[t]o

12 protect themselves and the water they drink against chemicals that cause cancer, birth defects, or other

13 reproductive harm” and “[t]o secure strict enforcement of the laws controlling hazardous chemicals and

14 deter actions that threaten health and public safety.” (Sections 1(a) and (c) of Initiative Measure,

15 Proposition 65.)

16           16.     To accomplish this goal, Proposition 65 prohibits the discharge or release of substances

17 listed by the State of California as causing cancer or reproductive toxicity to sources of drinking water.

18 Cal. Health & Safety Code §25249.5 states, in pertinent part:

19                   No person in the course of doing business shall knowingly discharge or
                     release a chemical known to the state to cause cancer or reproductive
20
                     toxicity into water or onto or into land where such chemical passes or
21                   probably will pass into any source of drinking water. . . .

22           17.    Proposition 65 provides that any person “violating or threatening to violate” the statute

23 may be enjoined in a court of competent jurisdiction. (Cal. Health & Safety Code §25249.7.) The

24 phrase “threatening to violate” is defined to mean creating “a condition in which there is a substantial

25 likelihood that a violation will occur.” (Cal. Health & Safety Code §25249.11(e).) Violators are liable

26 for civil penalties of up to $2,500 per day for each violation of the Act. (Cal. Health & Safety
27 Code § 25249.7.)

28 //

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 1 IV.       STATEMENT OF FACTS

 2           18.     Pac Bell, as part of its business of providing telecommunications services in California,

 3 installed two telecommunications Cables and routed submarine portions of those Cables through parts of

 4 Lake Tahoe. One of these Cables crosses the mouth of Emerald Bay, with approximately 2,000 feet of

 5 cable submerged on the Lake bottom (“Emerald Bay Cable”). A second Cable ran (and remains)

 6 submerged for approximately 39,600 feet close to and along the western shore of the Lake (“7-Mile

 7 Cable”). More precise geographical coordinates for the location of these Cables are provided in the

 8 Notice Letter, appended hereto as Exhibit A, and wholly incorporated by reference into this Complaint.

 9           19.     The Cables contain approximately 3.3 pounds of elemental lead per foot. This lead is

10 confined within the Cable in a crystal matrix.

11           20.     As time and technology progressed, the copper strands in these Cables became obsolete;

12 cables made of fiber optic strands offered more reliability and much greater capacity. At a yet to be

13 determined time in the past, Pac Bell replaced the Cables, submerged portions of which are relevant to

14 this action. When Pac Bell installed new fiber optic cables along the same submarine right of way as the

15 Emerald Bay Cable crossing Emerald Bay, it obtained permission from the California Lands

16 Commission to abandon the older copper-strand-Cable in place, and did so. The second Cable, the 7-

17 Mile Cable, running along the western shore of the Lake has also been abandoned in place. The Cables

18 are no longer used for any purpose.

19           21.     The Cables have not been maintained and have been worn and damaged over time. The

20 tar-impregnated jute coating can be seen to have been abraded and washed away over certain portions of

21 the Cables. Boat anchors and debris have torn into parts of the Cables, exposing the lead sheathing that

22 was originally designed to protect the copper strands from contact with water. At least one of these

23 Cables is cut at one or both ends, exposing the lead sheathing.

24           22.     When Pac Bell decommissioned the Cables, it generated a waste in the form of the

25 Cables. When Pac Bell abandoned the Cables, it disposed of that waste in the waters of Lake Tahoe.

26           23.     Lake Tahoe water contacts the lead sheathing in the Cables and dissolves the lead, and

27 then distributes the lead throughout Lake Tahoe and its larger environment. Lead is taken up by plants

28 and animals and is thus introduced into the food chain of the larger Lake Tahoe ecosystem,

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 1 concentrating in organisms as the lead moves up the food chain into higher benthic level organisms.

 2 Lake Tahoe is designated as a source of domestic and municipal drinking water.

 3           24.     For Californians, Lake Tahoe is a natural wonder, an icon. For more than 150 years,

 4 Californians have enjoyed recreating on the Lake, observing the wildlife that thrives in, on and around

 5 it. As long ago as 1869, Mark Twain described his fascination with Lake Tahoe in his novel, The

 6 Innocents Abroad.

 7           25.     Lead is a chemical that has long been known to cause neuro-toxicity. In the past decade,

 8 federal government agencies published the results of three large scale overviews of the toxicity of lead.

 9 These overviews evaluated lead toxicity in light of existing body of peer-reviewed, published research.

10 Lead is especially toxic to the developing nervous system. There are various critical phases of the

11 development of a central nervous system, including, for example, the genesis of synapses and synaptic

12 pruning. Lead has been shown to impair both of these critical functions. Impairment of the genesis of

13 synapses means that the nervous system develops without all of the needed synapses, which affects

14 learning and memory. Impairment of synaptic pruning affects the ability to focus attention and to

15 concentrate. Being able to learn, remember and to concentrate are three key components of what is

16 commonly called intelligence. Not surprisingly, therefore, humans and other animals exposed peri-

17 nataly to lead exhibit impaired performance on tests designed to assess intelligence. Children exposed

18 to lead before age 6 have been shown to lose approximately one point of IQ for each microgram per

19 deciliter increase in their blood lead levels. All three of the federal agencies that conducted these

20 overviews of lead toxicity (The Agency for Toxic Substances and Disease Registry, the Environmental

21 Protection Agency and the National Toxicology Program) concluded that there is sufficient evidence to

22 conclude that exposure to lead in developing humans impairs their short-term memory and executive

23 function – the ability to formulate and execute a plan. Lead has been shown to be toxic in this way at

24 exposure levels as low as can be measured. There is no level of lead exposure that has been shown not

25 to cause neurodevelopmental toxicity.

26           26.     Lead causes neurodevelopmental toxicity to humans, fish, birds, non-human mammals

27 and all other animals that have central nervous systems. Human beings, water fowl, birds, marine and

28 other mammals, and fish are exposed to lead that leaches off the Cables into the wider water column of

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 1 Lake Tahoe. These exposures occur when these animals and humans make physical contact with Lake

 2 Tahoe water, when they drink that water, and when they ingest the flesh of other animals that have

 3 ingested lead from the water of Lake Tahoe. Once ingested, lead is absorbed into the bones and teeth of

 4 the exposed animal, and exists in a dynamic equilibrium with the lead in blood cells and blood plasma.

 5 Lead stored in bones and teeth is the major portion of the body burden of lead that most animals carry

 6 with them. Lead stored in bones is released into the blood stream under certain conditions, most often

 7 when mammals lactate. Lead released into the blood stream then perfuses developing nervous tissue,

 8 and impairing that development as described in the preceding paragraph. As such, exposure to lead that

 9 has leached off the Cables and into the Lake Tahoe water column may cause imminent and substantial

10 harm to Lake Tahoe-associated humans and wildlife.

11                                              FIRST CLAIM FOR RELIEF
                                                    Violations of RCRA
12
                                                  42 U.S.C. § 6972(a)(1)(B)
13           27.     Plaintiff incorporates the allegations contained in the above paragraphs of this complaint
14 as though fully set forth herein.

15           28.     To further the ends of its telecommunications business, Pac Bell has abandoned the
16 Cables on the bottom of Lake Tahoe. As such, the Cables are solid waste within the meaning of RCRA

17 and Pac Bell has disposed of them, also within the meaning of RCRA.

18           29.     The two Cables Pac Bell disposed of on the bottom of Lake Tahoe together contain more
19 than sixty tons of lead.

20           30.     Lead in the Cables comes into contact with the water of Lake Tahoe, which dissolves the
21 lead, thus causing people who make physical contact with the water to be dermally exposed to lead.

22 This dissolved lead from the cables is also ingested by humans when they drink water from Lake Tahoe

23 or when they eat fish caught in Lake Tahoe. Other animals in the greater Lake Tahoe ecosystem are

24 exposed to lead in similar ways.

25           31.     Lead is neurodevelopmentally toxic in all animals that possess a central nervous system,
26 is toxic to spermatogenesis and sperm health, and delays onset of puberty in female humans and females
27 of many other species.

28

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 1           32.     Because many vulnerable species are exposed to lead from the Cables, Pac Bell’s

 2 disposal of the Cables on the bottom of Lake Tahoe causes, or may cause, imminent and substantial

 3 harm to human health and/or the environment. Pac Bell’s continuing disposal of the Cables on the

 4 bottom of Lake Tahoe thus violates 42 U.S.C. § 6972(a)(1)(B). As such, Pac Bell is subject to an

 5 injunction ordering Pac Bell to remove the Cables from Lake Tahoe.

 6                                           SECOND CLAIM FOR RELIEF
                                                Violations of Proposition 65
 7
                                     California Health & Safety Code § 25249.5 et seq.
 8           33.     Plaintiff incorporates the allegations contained in the above paragraphs of this complaint
 9 as though fully set forth herein.

10           34.     As the immediate result of its business practices, Pac Bell placed the Cables on the
11 bottom of Lake Tahoe. At all times relevant to this complaint, Pac Bell knew that the Cables contained

12 lead, Pac Bell knew that the lead in the Cables would make contact with the waters of Lake Tahoe.

13           35.     Lead is confined inside the outer sheathing of the Cables in a crystal matrix of elemental
14 lead in its solid state. At all times relevant to this complaint, Pac Bell knew that, as a result of contact

15 with Lake Tahoe water, lead in the Cables is dissolved by the Lake Tahoe water and thus escapes from

16 the matrix, and thus from confinement in the interior of the Cables, and enters into the waters of Lake

17 Tahoe in dissolved form.

18           36.     Lead in both its solid and dissolved forms is a substance listed as known to cause cancer
19 and reproductive toxicity pursuant to California Health & Safety Code § 25249.8 and California Code of

20 Regulations, title 27, section 27001, subparagraphs (b) and (c).

21           37.     The Regional Water Quality Control Board for the Lahontan Region as part of its Water
22 Quality Control Plan for the Lahontan Region (“Basin Plan”), has determined Lake Tahoe to be an

23 existing source of municipal and residential water supply. The Basin Plan also has determined that

24 beneficial uses of Lake Tahoe include wildlife habitat and water contact recreation. Lake Tahoe is thus

25 a water of the State of California for purposes of California Fish & Game Code § 5650 and is a source of

26 drinking water within the meaning of California Health & Safety Code §§ 25249.5 and 25249.11(d).
27           38.     At all times relevant to this complaint, more than nine people have provided service to
28

     Second Amended Complaint for Declaratory and     10
     Injunctive Relief and Civil Penalties
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 1 Pac Bell at the control and direction of that company. In exchange for this service, Pac Bell pays money

 2 to those providing it service. As such, at all times relevant to this complaint, Pac Bell has had ten or

 3 more employees within the meaning of California Labor Code section 3351, within the meaning of

 4 California Code of Regulations, title 27, section 25102, subparagraph (h), and thus within the meaning

 5 of California Health & Safety Code section 25249.11, subparagraph (b).

 6           39.     Because lead has escaped, is escaping and will continue to escape from the crystal matrix

 7 in which the lead is confined in the Cables, thus entering into the waters of Lake Tahoe, and because Pac

 8 Bell knew (and knows) this to be the case, Pac Bell has violated, and continues to violate, California

 9 Health & Safety Code section 25249.5.

10           40.     As such, pursuant to California Health & Safety Code section 25249.7, subparagraph (a),

11 Pac Bell is subject to an injunction ordering Pac Bell to remove the Cables from Lake Tahoe. Pursuant

12 to California Health & Safety Code section 25249.7, subparagraph (b)(1), Pac Bell is subject to a civil

13 penalty of up to $2,500 for each day of the year preceding the filing of the complaint in this action, and

14 to an additional civil penalty of up to $2,500 per day in the future until Pac Bell stops releasing lead into

15 the waters of Lake Tahoe.

16 VI.       RELIEF REQUESTED

17           Wherefore, CSPA respectfully requests that this Court grant the following relief:

18                    a. Declare Pac Bell to have violated and to be in violation of 42 U.S.C. § 6972(a)(1)(B);

19                    b. Enjoin Pac Bell from further and continuing disposal of the Cables where the Cables

20    are in contact with the waters of Lake Tahoe;

21                    c. Enjoin Pac Bell from further and continuing release of lead from the Cables into the

22    waters of Lake Tahoe;

23                    d. Order Defendants to pay civil penalties of $2,500 per day beginning one year before

24    the filing of this complaint and continuing until Pac Bell no longer causes lead to be released from the

25    Cables into the waters of Lake Tahoe;

26                    e. Award Plaintiff’s costs and fees (including reasonable attorney, witness, and

27    consultant fees) as authorized by RCRA and California Code of Civil Procedure section 1021.5; and,

28                    f. Award any such other and further relief as this Court may deem appropriate.

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     Injunctive Relief and Civil Penalties
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 1 Dated: August 20, 2021                                Respectfully Submitted,

 2                                                       LAW OFFICES OF ANDREW L. PACKARD

 3                                                       By: /s/ William N. Carlon
 4                                                              William N. Carlon
                                                                Attorney for Plaintiff
 5                                                              CALIFORNIA SPORT FISHING
                                                                PROTECTION ALLIANCE
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     Second Amended Complaint for Declaratory and   12
     Injunctive Relief and Civil Penalties
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                                         August 6, 2020

Ken DaRosa, Acting Director        Rhonda J. Johnson, CEO               Proposition 65 Enforcement
California Department of           Pacific Bell Telephone               Reporting
Resources, Recycling and           Company                              Attention Prop 65 Coordinator
Recovery                           430 Bush Street                      1515 Clay St., Suite 2000
1001 “I” Street                    San Francisco, CA 94108              Oakland, CA 94612
Sacramento, CA 94814

Andrew R. Wheeler,                 John Busterud, Regional              CT Corporation System
Administrator                      Administrator                        Registered Agent for
U.S. EPA                           U.S. EPA, Region 9                   Pacific Bell Telephone Company
1200 Pennsylvania Ave, N.W.        75 Hawthorne Street                  818 West Seventh St., Ste 930
Washington, D.C. 20460             San Francisco, CA 94105              Los Angeles, CA 90017

District Attorney                  Douglas A. Cannon, CEO               Corpservices Company
El Dorado County                   Sierra Pacific Power Company         Registered Agent for
778 Pacific Street                 6100 Neil Road                       Sierra Pacific Power Company
Placerville, CA 95667              Reno, NV 89511                       8301 Florence Ave, #201
                                                                        Downey, CA 90240
District Attorney                  Ian Robertson, CEO
Placer County                      Liberty Utilities (CalPeco           CT Corporation System
10810 Justice Center Dr.,          Electric) LLC                        Registered Agent for Liberty
#240                               345 Davis Rd. Suite 100              Utilities (CalPeco Electric) LLC
Roseville, CA 94678                Oakville L6J 2X1                     818 West Seventh St. Ste 930
                                   ON, Canada                           Los Angeles, CA 90017

BY CERTIFIED MAIL
RETURN RECEIPT REQUESTED

       Re:     Notice of Violations of Federal Law and Notice of Intent to Begin Citizen
               Enforcement Action

Greetings:

        I write on behalf of the California Sportfishing Protection Alliance (hereinafter, “CSPA”)
to notify you of violations of federal and California law caused by four submerged cables (the
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“Cables”) that lie abandoned in Lake Tahoe’s Emerald Bay and along the west shore of Lake
Tahoe. Three of these Cables are submarine telecommunications cables; the other is a submarine
power cable. Lake Tahoe is located in the California counties of Placer and El Dorado. These
violations have been, and are continuing to be, committed by the “Noticed Parties” described in
Section II, below, and, more fully, as the private entities in the attached Service List.

        CSPA has conducted an investigation of the Cables, including having divers swim above
them and photograph them, to determine the extent to which they discharge lead into Lake
Tahoe. Lake Tahoe is an existing source of domestic and municipal drinking water. The Cables
vary in size and length with three of them, two telecommunications and one power, crossing
along the bottom near the mouth of Emerald Bay, and another one approximately five and a half
miles traveling along the west shore of the lake. All of the Cables are damaged and discharging
lead into Lake Tahoe.

       The Cables are as follows:

       Cable A.

        Cable A is approximately 2000 feet long, submerged in Emerald Bay. The latitude and
longitudinal coordinates for the southern endpoint is 38.96421504N -120.08144917W and
38.96482016N -120.08359610W for the northern endpoint. A visual inspection shows that
Cable A is a submarine telecommunications type with an outer layer of jute impregnated with
bitumens/tar, which covers steel rods that protect the interior of Cable A. Under the steel rods is
a thick lead sheath that surrounds strands of copper wrapped in paper. This cable has been cut at
both ends. An analysis of the piece of the cut end of Cable A reveals that the Cable contains per
foot, 3.39 pounds of lead, 4.15 pounds of steel, 0.71 pounds of petroleum-based tar-impregnated
jute and 0.77 pounds of copper. Accordingly, in its 2,000-foot length, Cable A contains
approximately 6,780 pounds of lead. A visual inspection of Cable A reveals that not only is the
Cable cut at one end, so obviously it is not in working condition, but the Cable is damaged at
various places along its length, by boat anchors and in other ways, such that, in these damaged
portions, the tar-impregnated jute covering no longer prevents water intrusion into the interior of
the Cable.

       Cable B.

       Cable B is approximately five and a half miles long. It is submerged along the west shore
of Lake Tahoe with the latitude and longitudinal coordinates for the southern end point of
38.94396945N -120.06913414W and 39.00944887N -120.11311122W for the northern endpoint.
Cable B appears on close visual inspection to be of the same size, type and character as Cable A.
At various points along its more than 5.5-mile length, Cable B has been damaged by boat
anchors and has frayed on submerged rocks to the point that the lead sheath is directly exposed
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to lake water. Based on an estimated 3.39 pounds per foot, the submerged portion of Cable B
contains approximately 89,500 pounds of lead.

       Cable C.

        Cable C is approximately 2,000 feet long and submerged in Emerald Bay with latitude
and longitudinal coordinates of 38.96105015N -120.08387085W for the southern end point and
38.96478251N -120.09067881W for the northern endpoint. A close visual inspection reveals
that the Cable is a telecommunication cable of a submarine type. At various points it has been
damaged by boat anchors and has frayed on submerged rocks to the point that the lead sheath is
directly exposed to lake water. It appears to be unworkable and abandoned. Cable C is smaller
in diameter than Cable A or Cable B. Nevertheless, it is estimated that the submerged portion of
Cable C contains thousands of pounds of lead.

       Cable D.

        Cable D is approximately 2,000 feet long and submerged in Emerald Bay with latitude
and longitudinal coordinates for the southern end point of 38.96125614N -120.08451815W and
38.96439289N -120.09007347W for the northern endpoint. A close visual inspection of Cable D
reveals that it is a power cable and it is cut at both ends with the ends pulled away from the shore
and left in deeper water. The GPS coordinates for the northern cut-end are 38.964735N -
120.09058444W. The cable is also severely damaged at several places along its length and, thus,
is no longer being used. Cable D is a submarine power cable with a lead sheath surrounding the
inner core of copper wire. The Cable is approximately the same diameter as Cables A and B.
Based upon this and visual inspection of Cable D, it is estimated that Cable D also contains
approximately 3.39 pounds of lead per foot. Accordingly, it is estimated that the submerged
portion of Cable D contains 6,780 pounds of lead.

         CSPA submerged a sample of Cable A in a plastic container filled with Lake Tahoe
water. After 24 hours, a sample was taken of the water and sent to a state-certified laboratory for
analysis, which showed that enough lead had leached from the piece of the Cable to bring the
concentration of lead in the water to 650 micrograms per liter. After seven days, another sample
of the water was taken and sent to the same laboratory for analysis, which showed that the
concentration of lead in the water had risen to 1,500 micrograms per liter. This is evidence that
lead is leaching from the Cables into Lake Tahoe. Since the Cables have similar composition,
based on these findings, it is reasonable to infer that they are all presently discharging lead into
Lake Tahoe well beyond established limits for safety.

        Lead is a substance that causes neurodevelopmental toxicity, reproductive toxicity
(including sterility and delayed onset of puberty in females) and cancer in humans and other
animals. Lead is known, pursuant to 27 Cal. Code Regs. section 27001, subsections (b) and (c),
to cause cancer developmental and reproductive toxicity in both males and females. This letter
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begins the process by which CSPA will seek available remedies under the federal Resource
Conservation and Recovery Act (“RCRA”) and California’s Safe Drinking Water and Toxic
Enforcement Act of 1986 (“Proposition 65”). CSPA will pursue these remedies to have the
abandoned/discarded Cables removed from Lake Tahoe and disposed of in a way that they may
no longer pose an imminent danger of substantial harm to human health, the health of other
animals and the environment. Removal will prevent the ongoing discharge and release of lead
into the waters of Lake Tahoe, a source of drinking water. CSPA will further seek civil penalties
for Proposition 65 violations.

I.     The Noticing Party
       CSPA is a non-profit association dedicated to the preservation, protection and defense of
the environment, wildlife and natural resources of California waters, including the waters of
Lake Tahoe. CSPA’s main office is at 3536 Rainier Avenue, Stockton, California, 95204.
CSPA’s telephone number is (530) 464-5067. In addition to other California counties, members
of CSPA reside in Placer and El Dorado Counties. CSPA members utilize the waters of Lake
Tahoe for recreation and work in, on and around Lake Tahoe. Members of CSPA drink water
that comes from Lake Tahoe.

II.    The Noticed Parties
        Pacific Bell Telephone Company (“Pac Bell” or “Noticed Party”) is a corporation that
provides telecommunication services in California. Pac Bell at one time had the
telecommunications Cables A, B and C (including their lead components) installed in Lake
Tahoe. Pac Bell owned and operated the Cables A, B and C as part of its business providing
telecommunication services. Cables A, B and C are no longer used. Pac Bell abandoned the
Cables A, B and C in place on the bottom of Lake Tahoe and had at least one of these Cables cut
at both ends in Lake Tahoe as part of that abandonment. For each of these three Cables, this
Notice pertains to the Cables themselves, their lead sheathing, and the lead that dissolves off the
sheathing and is discharged and released into the water of Lake Tahoe. Pac Bell is in violation
of the Resource Conservation and Recovery Act (“RCRA”) and the discharge to drinking water
provisions of Proposition 65.

        Sierra Pacific Power Company (“NV Energy” or “Noticed Party”) provides electrical
power to consumers in East Central California and Nevada. As part of its electrical utility
service, Sierra Pacific Power Company owned and operated Cable D, and had it installed in Lake
Tahoe. Later it had both ends of the cable cut and moved to a deeper portion of Emerald Bay
where they could not be as easily seen. In this manner, Sierra Pacific
abandoned/discarded/disposed of the cable leaving it to leach lead into Emerald Bay. This
Notice pertains to Cable D itself, its lead sheathing, and the lead that dissolves off the sheathing
and is discharged and released into the water of Lake Tahoe. NV Energy is in violation of the
RCRA and the discharge to drinking water provisions of Proposition 65.
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        Liberty Utilities (CalPeco Electric), LLC is an electric utility company. In 2011, NV
Energy assigned its lease for Cable D to California Pacific Electric Company, LLC (“CalPeco
Electric”). CalPeco Electric was acquired by Liberty Utilities, LLC in 2012 and is now named,
Liberty Utilities (CalPeco Electric), LLC (a “Noticed Party”). As part of its business of holding
the lease from the State Lands Commission for Cable D, Liberty Utilities, LLC is thus
responsible for the abandonment and discard of Cable D on the bottom of Lake Tahoe, is
continuing its abandonment of Cable D on the bottom of Lake Tahoe, and continues to discharge
and release lead from Cable D into Lake Tahoe waters. Liberty Utilities (CalPeco Electric) has
been doing so each day for at least the past five years and will continue to do so each day into the
future until Cable D is removed from the bottom of LakeTahoe is disposed of properly. Liberty
Utilities (CalPeco Electric), LLC is in violation of the RCRA and the discharge to drinking water
provisions of Proposition 65.

III.   Factual Background: The Problem with Abandoning the Cables in Lake Tahoe
         As discussed above, the submerged Cables have been cut or damaged, which has allowed
water to intrude into the Cables. In addition, inspection of the submerged part of the Cables
shows that as part of the damage to the Cables, sections of the tar-impregnated jute have virtually
disappeared, leaving the steel protective rods exposed, and in some places severed. This means
that in sections of the Cables that have been damaged in this way, lake water intrudes into the
Cables and contacts the lead sheathing. It has been shown that when Lake Tahoe water contacts
the lead sheathing in the Cable, the water dissolves lead from the sheathing. This lead-laden
water then mingles with the larger body of Lake Tahoe water, polluting it with lead. Because the
Noticed Parties have discarded/abandoned and disposed of the Cables in the manner they have,
the Cables continuously discharge and release lead – a toxic heavy metal – into the local aquatic
environment, which is a source of drinking water within the meaning of California Health &
Safety Code section 25249.5.

        The disposal and abandonment of the Cables in Lake Tahoe, and the subsequent and
continuing discharge of lead from the Cables into Lake Tahoe poses a significant threat to the
health of persons and to the local environment, including fish and wildlife. Not only is lead toxic
to humans, it is also toxic to birds, fish and mammals. Numerous members of the public are
exposed daily to lead from the Cables when they swim, boat and dive in Lake Tahoe and when
they drink water drawn from Lake Tahoe, or eat fish caught in Lake Tahoe. The lead also
increases the body burdens of lead in the fish, birds and mammals that live in or on Lake Tahoe
and/or feed on prey that live in or on Lake Tahoe. These increased lead body burdens
cumulatively subject humans and animals to significant health risks.
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IV.    Specific Permits, Standards, Regulations, Conditions, Requirements or Orders
Violated
       A.       RCRA Standard Violated
       With regard to RCRA, this Notice pertains to the Noticed Parties’ violations of 42 U.S.C.
§ 6972(a)(1)(B), which provides that:

       Any person may commence a civil action on his own behalf – against any person,
       including the United States and any other governmental instrumentality or
       agency, to the extent permitted by the eleventh amendment to the Constitution,
       and including any past or present generator, past or present transporter, or past or
       present owner or operator of a treatment, storage, or disposal facility, who has
       contributed or who is contributing to the past or present handling, storage,
       treatment, transportation, or disposal of any solid or hazardous waste which may
       present an imminent and substantial endangerment to health or the environment.

For purposes of RCRA, the Noticed Parties have contributed and are contributing to the past,
present and future storage and disposal of solid waste, to wit the Cables and their lead sheathing,
in a way that may present an imminent and substantial endangerment to health and the
environment.

       B.       Provisions of Proposition 65 that are Being Violated
       With regard to Proposition 65, this Notice pertains to the Noticed Parties’ violations of
Cal. Health & Saf. Code § 25249.5, which provides that:

            No person in the course of doing business shall knowingly discharge or
            release a chemical known to the state to cause cancer or reproductive
            toxicity into water or onto or into land where such chemical passes or
            probably will pass into any source of drinking water, notwithstanding any
            other provision or authorization of law except as provided in Section
            25249.9.

The Noticed Parties cut the Cables and abandoned them, and left damaged Cables in Lake
Tahoe. They did this as part of their business selling telecommunication services and electrical
utility service in California and Nevada. As the Cables sit abandoned on the bottom of Lake
Tahoe, they continuously discharge and release lead – a chemical known to the State of
California to cause cancer and reproductive toxicity – into the waters of Lake Tahoe. Each
Noticed Party employs ten or more persons and is thus a “person in the course of business” for
purposes of California Health & Safety Code section 25249.11(b).

        Pursuant to the Basin Plan for the Lahontan Region, Lake Tahoe has been designated an
existing source of domestic and municipal water supply. As such, Lake Tahoe is a source of
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drinking water within the meaning of California Health & Safety Code section 25249.11(d). The
Noticed Parties’ business practice of leaving the Cables abandoned on the bottom of Lake Tahoe
is thus a continuous violation of California Health & Safety Code section 25249.5 because the
Cables continuously discharge and release lead into Lake Tahoe waters.

       C.      The Activity that Constitutes the Violations
       This notice of intention to file a citizen suit pertains to the Cables, which lie discarded,
abandoned and disposed of on the bottom of Lake Tahoe in Placer and El Dorado Counties,
California. The Cables continuously discharge and release lead into the waters of Lake Tahoe.
Humans and wildlife utilize Lake Tahoe and, in doing so, are exposed to the lead that the
abandoned Cables discharge and release into the waters of Lake Tahoe.

         Lead has long been known to be a potent neurotoxin. There is an extensive toxicological
literature that demonstrates that exposure to lead causes sterility in male humans and other
mammals. There is an extensive toxicological literature that demonstrates that exposure to lead
delays the onset of puberty in female humans and other mammals. Exposure to lead has been
shown to kill aquatic bird life. Lead is toxic to fish and, basically, any animal that has a central
nervous system. There is an extensive toxicological literature that demonstrates that pre-natal
exposure to lead impairs the development of the central nervous systems of humans and other
animals. Lead does this at levels of exposure as low as can be measured. Lead’s toxic effect on
the developing nervous system does so according to a supralinear curve, which means that lower
levels of exposure do proportionately more harm to the developing nervous system than higher
levels of exposure. There is an extensive toxicological literature that demonstrates that for each
one microgram per deciliter rise in the concentration of lead in blood of a human between
conception and six years of age, there is a corresponding loss of approximately one IQ point.
There is no level of exposure to lead known to science that does not cause harm to humans and
other animals.

V.     The Persons Responsible for Violating RCRA and Proposition 65
        The Noticed Parties are each responsible for violating RCRA and Proposition 65 as
further described in this letter.

       A.      Dates of Violation of RCRA, 42 U.S.C. § 6972(a)(1)(B)
        Lead has been discharged and released from the lead sheathing of the Cables into the
waters of Lake Tahoe every day since the Noticed Parties cut the Cables and abandoned them on
the bottom of Lake Tahoe and left them damaged on the bottom knowing they were damaged.
Lead will continue to be discharged and released from the lead sheathing of the Cables into the
waters of Lake Tahoe, thus presenting an imminent and substantial endangerment to health and
the environment that has occurred every day for at least the past five years and will continue
every day into the future until the Noticed Parties remove the Cables from Lake Tahoe and
properly dispose of them. Accordingly, the Noticed Parties have been violating this RCRA
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provision continuously for at least the past five years. Thus, the dates of violation to which this
Notice pertains are each and every single day dating back at least five years from the date of this
letter and continuing each day into the future until the abandoned Cables have been removed
from Lake Tahoe and disposed of in a responsible manner.

       B.      Dates of Violation of Proposition 65
         The Cables have discharged and released lead into the waters of Lake Tahoe every day
for at least the past year preceding the date of this Notice letter. The Cables will all continue to
discharge and release lead into the waters of Lake Tahoe each and every day into the future until
the Noticed Parties remove the Cables from Lake Tahoe and properly dispose of them. The
dates of violation of Health and Safety Code section 25249.5 are each day over at least the past
year, plus every day into the future until the abandoned Cables have been removed from Lake
Tahoe.

VI.    Full Name, Address and Telephone Number of the Person Giving Notice
       The full name, address and telephone number of the person providing this Notice is:

       Bill Jennings, Executive Director
       California Sportfishing Protection Alliance
       3536 Rainer Avenue
       Stockton, CA 95204
       (209) 464-5067

VII.   Name, Address and Telephone Numbers of Noticing Party’s Counsel


William Verick                    Brian Acree                       Andrew Packard
Klamath Environmental Law         Law Offices of Brian Acree        William Carlon
Center                            331 “J” Street, Suite 200         Law Offices of Andrew L.
1125 16th Street, Suite 204       Sacramento, CA 95814              Packard
Arcata, CA 95521                  (916) 505-6861                    245 Kentucky Street, Suite B3
(707) 630-5061                                                      Petaluma, CA 94952
                                                                    (707) 782-4060

Kirk Boyd
Law Offices of Kirk Boyd
548 Market Street, Suite 1300
San Francisco, CA 94104
(415) 440-2500

         CSPA would be happy to discuss effective remedies for the violations referenced in this
Notice. If you wish to pursue such discussions in the absence of litigation, we suggest that you
initiate these discussions immediately so that a resolution may be reached before the end of the
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60-day notice period (for the Proposition 65 violations alleged here) and 90-day notice period
(for the RCRA violations alleged here). Please contact counsel if you have any questions or
would like more information
               Cordially,




               William Verick
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                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF CALIFORNIA


 CALIFORNIA SPORTFISHING PROTECTION
 ALLIANCE

                       Plaintiff                              Civil Action No.: 2:21-CV-
                                                              00073-MCE-JDP
                v.

 PACIFIC BELL TELEPHONE COMPANY

                       Defendant



      NON-PARTY ENVIRONMENTAL DEFENSE FUND’S RESPONSES AND
 OBJECTIONS TO THE SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION,
  OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

       Third party Environmental Defense Fund (“EDF”), by and through undersigned counsel,

hereby responds and objects to the subpoena (the “Subpoena”) served upon it on August 8, 2023

by Defendant Pacific Bell Telephone Company (“Pacific Bell” or “Defendant”).


                                   GENERAL OBJECTIONS

       1.      EDF objects to the Subpoena to the extent that it seeks to impose obligations that

exceed the scope of, or are inconsistent with, the requirements of the Federal Rules of Civil

Procedure or any orders of this Court.

       2.      EDF objects to the Subpoena on the basis that it seeks to impose obligations on a

third party that are unduly burdensome, unnecessary and unreasonably expensive. EDF is a non-

profit organization that is entrusted with donor dollars and operates for the public good. Many of

the document requests contained in the Subpoena are vague, ambiguous, unreasonably broad and

confusing, such that even attempting to search for responsive documents would place an undue

and unreasonable burden on EDF’s financial and human resources.
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       3.      EDF objects to the Subpoena based on a good faith belief that it is overbroad and

seeks information that is not relevant to any party’s claim or defense, nor proportional to the needs

of the case. The operative Second Amended Complaint (the “Complaint”) was filed on August 20,

2021. The subject matter of the Complaint is environmental contamination attributable to two

submarine telecommunications cables that traverse(d) portions of Lake Tahoe, and which

apparently were owned and/or operated by Pacific Bell but are no longer operative. (Complaint

¶ 5.) The Complaint does not reference any other cables or locations, nor does it mention EDF or

non-parties Marine Taxonomic Services, Ltd and the Wall Street Journal.

       4.      EDF objects to the Subpoena to the extent that the terms used therein are vague,

undefined and/or ambiguous, and that such terms assume facts not within EDF’s knowledge.

       5.      EDF objects to the Subpoena to the extent that it seeks information that is

unreasonably cumulative or duplicative of other discovery requests, or that may be obtained from

some other source that is more convenient, less burdensome and less expensive.

       6.      EDF objects to the Subpoena to the extent that it seeks documents and/or

information already known to Defendant or available to Defendant in its own files or from public

sources.

       7.      EDF objects to the Subpoena on the basis that it does not allow a reasonable time

to comply. The Subpoena was served on August 8, 2023, and it purports to require a document

production within 14 days. Pacific Bell agreed to extend the response period to 30 days following

service, but even that is insufficient in light of the breadth of the Subpoena’s requests.

       8.      EDF objects to the Subpoena to the extent that it seeks information protected by the

attorney-client privilege, the attorney work-product doctrine, a public reporting privilege and/or

any other applicable privilege or immunity. Nothing herein is intended to be, or in any way



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constitutes, a waiver of any applicable privilege or immunity.

       9.      EDF objects to the Subpoena to the extent that it is not delimited in temporal scope,

and thus purports to require the preservation, collection, review and production of records from

the beginning of time until the present. In this respect, the Subpoena is unnecessarily and

unreasonably overbroad and seeks information and documents that are not relevant to any claim

or defense.

       10.     EDF objects to the Subpoena to the extent it seeks information that is not reasonably

accessible to EDF, or within EDF’s possession, custody or control.

       11.     If EDF is required to respond to the Subpoena, Pacific Bell should be required to

reimburse EDF for its time and effort necessary to respond, including the costs of preservation,

collection, review and production.

       12.     To the extent Pacific Bell persists in its effort to obtain discovery from EDF

notwithstanding EDF’s objections herein, EDF is prepared to discuss its objections in the context

of a mutually convenient meet-and-confer discussion.

                        SPECIFIC OBJECTIONS AND RESPONSES

Request No. 1: All Documents and Communications, including pictures and videos, concerning
any sections of lead-clad cables removed from Lake Tahoe by You or other persons acting on Your
behalf, including but not limited to Marine Taxonomic Services, Ltd., Seth Jones, and Monique
Rydel Fortner.

       Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. This Request fails the proportionality test under Rule 26(b) in part because

it is not limited to a particular time period that is relevant to the contested issues. Further, this



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Request is unduly burdensome because it is not limited to documents that are relevant to this instant

action.

          EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s communications about those (or

other) cables are not relevant; in this respect, the Subpoena is overbroad, unduly burdensome, and

plainly intended to harass and intimidate EDF into not pursuing its core mission of environmental

protection.

          Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce non-privileged documents responsive to this Request that are in its

current possession, custody, or control and relevant and/or proportional to the needs of the case –

if any exist. This production will include data potentially related to the two submarine cables at

issue in this lawsuit, and documents describing the terms and condition of EDF’s relationship with

Marine Taxonomic Services Ltd. (“MTS”), Seth Jones, and Monique Rydel Fortner.

Request No. 2: All Documents and Communications concerning or discussing permits requested
or obtained by You or other persons acting on Your behalf, including but not limited to Marine
Taxonomic Services, Ltd., Seth Jones, and Monique Rydel Fortner, to test, cut or remove any
sections of lead-clad cables in or from Lake Tahoe.

          Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. This Request fails the proportionality test under Rule 26(b) in part because

it is not limited to a particular time period that is relevant to the contested issues. EDF also objects

to this Request to the extent that the term “permits” used herein is vague, undefined and/or

ambiguous, and assumes facts not within EDF’s knowledge. Further, this Request is unduly

burdensome because it is not limited to documents that are relevant to this instant action.


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       EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, documents and communications

reflecting or discussing permits “to test, cut or remove any sections of [such] cables” – to the extent

any exist – are not relevant; in this respect, the Subpoena is overbroad, unduly burdensome, and

plainly intended to harass and intimidate EDF into not pursuing its core mission of environmental

protection.

       Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce non-privileged documents responsive to this Request that are in its

current possession, custody, or control and relevant and/or proportional to the needs of the case –

if any exist. This production will include any permits “to test, cut or remove” lead-conduit cable

from Lake Tahoe, whether or not obtained by or at the request of EDF, if any exist within EDF’s

possession, custody or control.

Request No. 3: All Documents and Communications, including but not limited to any pictures,
videos, or test results, relating to any “kiddie pool” used by You or others acting on Your behalf,
including but not limited to Marine Taxonomic Services, Ltd., Seth Jones, and Monique Rydel
Fortner, to test lead-clad cables removed from Lake Tahoe or elsewhere.

       Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. EDF additionally objects to this Request to the extent that the term “kiddie

pool” used herein is vague, undefined and/or ambiguous, and assumes facts not within EDF’s

knowledge. This Request fails the proportionality test under Rule 26(b) in part because it is not

limited to a particular time period that is relevant to the contested issues. Further, this Request is

unduly burdensome because it is not limited to documents that are relevant to this instant action.




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        EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, it is unclear what relevance an undefined

“kiddie pool” might have; in this respect, the Subpoena is overbroad, unduly burdensome, and

plainly intended to harass and intimidate EDF into not pursuing its core mission of environmental

protection.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce non-privileged documents responsive to this Request that are in its

current possession, custody, or control and relevant and/or proportional to the needs of the case –

if any exist.

Request No. 4: All Documents related to the experience or qualifications of Marine Taxonomic
Services, Ltd., Below the Blue, Seth Jones, or Monique Rydel Fortner to perform sampling, testing,
or analysis of lead-clad cables in water, soil, or aerial environments.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents” as overly broad, unduly

burdensome and not reasonably calculated to lead to the discovery of admissible evidence. Further,

this Request is unduly burdensome because it is not limited to documents that are relevant to this

instant action. EDF also objects to this Request because the information is readily available from

another source. EDF is not a party to this action. Any documents related to the “experience or

qualifications of Marine Taxonomic Services, Ltd., Below the Blue, Seth Jones, or Monique Rydel

Fortner to perform sampling, testing, or analysis of lead-clad cables in water, soil, or aerial

environments” can be more readily obtained from those entities directly.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: To the extent EDF has within its current possession, custody or control any non-privileged

documents that were provided to it by Marine Taxonomic Services, Ltd., Below the Blue, Seth



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Jones, or Monique Rydel Fortner for the purpose of educating EDF on any of their professional

qualifications and experience, EDF will produce such documents.

Request No. 5: All Documents and Communications concerning the Marine Taxonomic Services
and Below the Blue Lead Cable Investigation Report, available at https:/
/belowtheblue.org/edf-report (the “EDF Report”).

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence.

        EDF is a third-party public interest organization, and the subject matter of the so-called

“EDF Report” is core to its mission; the request that EDF produce not only that document (which

the Subpoena acknowledges is available to the public on the internet), but also “[a]ll Documents

and Communications concerning” that document (emphasis added) is overbroad, unduly

burdensome, and plainly intended to harass and intimidate EDF into not pursuing its core mission

of environmental protection. Although some data contained in the “EDF Report” may be relevant

to this lawsuit, whatever EDF may have said, thought or done concerning that Report is not

relevant. This Request also is unduly burdensome because it is not limited to documents that are

relevant to this instant action.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce a copy of the so-called “EDF Report” in response to the Subpoena,

notwithstanding that it is available to the public on the internet.

Request No. 6: All Documents and Communications concerning the method by which sampling
locations were selected at Lake Tahoe or other locations referenced in the WSJ Articles, including
Documents and Communications relating to the statement in the EDF Report that “[s]ampling
locations were chosen in part by their likelihood to show high lead levels.”




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       Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. EDF further objects to this Request to the extent that the term “sampling

locations” used herein is vague, undefined and/or ambiguous, and assumes facts not within EDF’s

knowledge. This Request fails the proportionality test under Rule 26(b) in part because it is not

limited to a particular time period that is relevant to the contested issues. Further, this Request is

unduly burdensome because it is not limited to documents that are relevant to this instant action to

the extent that the Request relates to “other locations.”

       EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, documents and communications

concerning the method by which other third parties may have determined sampling locations in

Lake Tahoe or elsewhere are not relevant and discoverable from EDF; in this respect, the Subpoena

is overbroad, unduly burdensome, and plainly intended to harass and intimidate EDF into not

pursuing its core mission of environmental protection.

       Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce non-privileged documents responsive to this Request that are in its

current possession, custody, or control and relevant and/or proportional to the needs of the case –

if any exist. This production will include documents and communications that describe the manner

in which sampling locations in Lake Tahoe were selected, if any exist.

Request No. 7: All Documents related to and Communications between You and any party
described or otherwise referenced in the WSJ Articles, or Plaintiff or Plaintiff’s counsel in the
Lawsuit, concerning or discussing the WSJ Articles, the WSJ Investigation, any testing or analysis
of lead-clad cables (including any draft reports) or the Lawsuit, including but not limited to Marine
Taxonomic Services, Ltd., Wall Street Journal, Pace Analytical Services, Environmental Systems
Research Institute, MCH Strategic Data, Quest Diagnostics, Pure Earth; Environmental Council

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of the State, Altec Testing & Engineering, Inc., RTI International, ALTA Environmental
Corporation, Seth Jones, Monique Fortner, Jack Caravanos, Tom Neltner, Ben Grumbels, Bruce
Nelson, Bryan Stolte, Jennifer Redmon, Braden Allenby, Gordon Binkhorst, James Winn, Dr.
Phillip Landrigan, or any “environmental researchers.”

       Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents related to and

Communications” as overly broad, unduly burdensome and not reasonably calculated to lead to

the discovery of admissible evidence. This Request is unduly burdensome and fails the

proportionality test under Rule 26(b) in part because it is not limited to a particular time period

that is relevant to the contested issues, but also because it is not limited to communications with,

or even concerning, the parties to this lawsuit and the issues in dispute.

       EDF also objects to this Request because some of the information sought is available from

another source that is a party to this action. EDF is not a party to this action. Any communications

between EDF and Plaintiff California Sport Fishing Alliance can be more readily obtained from

such entity itself – California Sport Fishing Alliance, the Plaintiff in this action.

       Finally, EDF objects to this Request because it is overbroad and unduly burdensome in that

it seeks documents that are protected from disclosure by the attorney-client privilege or the

attorney work-product doctrine and/or a public interest reporting privilege.

       EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s documents and communications

concerning lead-clad cables – either generally or specifically – is not relevant. In this respect, the

Subpoena is overbroad, unduly burdensome, and plainly intended to harass and intimidate EDF

into not pursuing its core mission of environmental protection.

       Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce the data that underlies the so-called “EDF Report.”


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Request No. 8: All invoices for work performed relating to the Lawsuit, the WSJ Articles, the
WSJ Investigation, or lead-clad cables, including but not limited to work performed for any
individuals or entities listed in Request No. 7.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All invoices relating to the Lawsuit, the

WSJ Articles, the WSJ Investigation, or lead-clad cables” as overly broad, unduly burdensome

and not reasonably calculated to lead to the discovery of admissible evidence. This Request is

unduly burdensome and fails the proportionality test under Rule 26(b) in part because it is not

limited to a particular time period that is relevant to the contested issues, but also because it is not

limited to invoices related to the parties to this lawsuit and the issues in dispute. Finally, EDF

objects to this Request because it is overbroad and unduly burdensome in that it seeks documents

that are protected from disclosure by the attorney-client privilege or the attorney work-product

doctrine, and in that it seeks documents that are available from another source that is a party to this

litigation.

        EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s “invoices for work performed

relating to” a multitude of subjects, including “lead-clad cables” generally, is not relevant. In this

respect, the Subpoena is overbroad, unduly burdensome, and plainly intended to harass and

intimidate EDF into not pursuing its core mission of environmental protection.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce non-privileged documents responsive to this Request in its current

possession, custody, or control that are relevant and/or proportional to the needs of the case. This

production will include invoices submitted between EDF and MTS.

Request No. 9: All Documents and Communications concerning or discussing the Lawsuit, the
WSJ Investigation, the WSJ Articles, or lead-clad cables at Lake Tahoe or elsewhere, including
research, sampling, testing, data, analysis, drafts, reports, or Studies.
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        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

concerning or discussing lead-cables anywhere in the world as overly broad, unduly burdensome

and not reasonably calculated to lead to the discovery of admissible evidence. This Request is

unduly burdensome and fails the proportionality test under Rule 26(b) in part because it is not

limited to a particular time period that is relevant to the contested issues, but also because it is not

limited to lead-cables related to the parties to this lawsuit and the issues in dispute.

        EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by the attorney-client privilege, the attorney work-

product doctrine, and/or a public interest reporting privilege, and in that it seeks documents that

are available from another source that is a party to this litigation.

        EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s “Documents and Communications”

relating to a multitude of subjects, including “lead-clad cables” generally, is not relevant. In this

respect, the Subpoena is overbroad, unduly burdensome, and plainly intended to harass and

intimidate EDF into not pursuing its core mission of environmental protection.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce the data that underlies the so-called “EDF Report.”

Request No. 10: All Documents and Communications concerning or discussing any agreement
between You and any party relating to the Lawsuit, the WSJ Articles, the WSJ Investigation, or
lead clad cables, including Plaintiff or any of Plaintiff’s counsel in the Lawsuit and any individuals
or entities listed in Request No. 7.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

concerning or discussing “any agreement” as overly broad, unduly burdensome and not reasonably


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calculated to lead to the discovery of admissible evidence. This Request is unduly burdensome and

fails the proportionality test under Rule 26(b) in part because it is not limited to a particular time

period that is relevant to the contested issues, but also because it is not limited to the issues and

parties in suit; instead, this Request asks EDF to produce a broad swath of documents and

communications with any party, concerning a matter of public concern. In this respect, the Request

is nearly unbounded.

       EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s “Documents and Communications”

relating to a multitude of subjects, including “lead-clad cables” generally, is not relevant. In this

respect, the Subpoena is overbroad, unduly burdensome, and plainly intended to harass and

intimidate EDF into not pursuing its core mission of environmental protection.

       EDF also objects to this Request because it seeks communications that can be more readily

obtained from California Sport Fishing Alliance, the Plaintiff in this action. Finally, EDF objects

to this Request because it is overbroad and unduly burdensome in that it seeks documents that are

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine

and/or a public interest reporting privilege.

       Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce the data that underlies the so-called “EDF Report.”

Request No. 11: All Documents and Communications related to any research, sampling, testing,
data, analysis, drafts, reports, or Studies You requested, performed, or collected for or on behalf
of the Wall Street Journal or Plaintiff or Plaintiff’s counsel in the Lawsuit, relating to lead, the
WSJ Investigation, Lake Tahoe, or the Lawsuit.

       Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of


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admissible evidence. This Request is unduly burdensome and fails the proportionality test under

Rule 26(b) in part because it is not limited to a particular time period that is relevant to the contested

issues, but also because it is not limited to lead-cables related to the parties to this lawsuit and the

issues in dispute. EDF also objects to this Request because the information is available from

another source that is a party to this action. Any communications between EDF and Plaintiff can

be more readily obtained from California Sport Fishing Alliance, the Plaintiff in this action. Finally,

EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by the attorney-client privilege, the attorney work-

product doctrine, and/or a public interest reporting privilege and in that it seeks documents that are

available from another source that is a party to this litigation.

        EDF is a third-party public interest organization, and while data concerning the two

submarine cables at issue may be relevant to this lawsuit, EDF’s other “Documents and

Communications” are not. In this respect, the Subpoena is overbroad, unduly burdensome, and

plainly intended to harass and intimidate EDF into not pursuing its core mission of environmental

protection.

        Subject to and without waiving the foregoing and its General Objections, EDF responds as

follows: EDF will produce the data that underlies the so-called “EDF Report.”

Request No. 12: All Documents or Communications related to statements about AT&T, Inc., any
of its subsidiaries, or any current or former telecommunications company referenced in the WSJ
Articles.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. This Request is unduly burdensome and fails the proportionality test under

Rule 26(b) in part because it is not limited to a particular time period that is relevant to the contested
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issues, but also because it is not limited to the parties to this lawsuit and the issues in dispute.

Finally, EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by the attorney-client privilege, the attorney work-

product doctrine, and/or a public interest reporting privilege and in that it seeks documents that are

available from another source that is a party to this litigation.

        EDF is a third-party public interest organization, and its “Documents and Communications”

sought by this Request are not relevant to this lawsuit. In this respect, the Subpoena is overbroad,

unduly burdensome, and plainly intended to harass and intimidate EDF into not pursuing its core

mission of environmental protection.

Request No. 13: All Documents and Communications exchanged between You and any current
or former employee of Defendant or AT&T, Inc. related to lead-clad cables.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. This Request is unduly burdensome and fails the proportionality test under

Rule 26(b) in part because it is not limited to a particular time period that is relevant to the contested

issues, but also because it is not limited to the parties to this lawsuit and the issues in dispute.

Finally, EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by the attorney-client privilege or the attorney work-

product doctrine, and in that it seeks documents that are available from another source that is a

party to this litigation.

        EDF is a third-party public interest organization, and its “Documents and Communications”

sought by this Request are not relevant to this lawsuit. In this respect, the Subpoena is overbroad,




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unduly burdensome, and plainly intended to harass and intimidate EDF into not pursuing its core

mission of environmental protection.

Request No. 14: All Communications between You and any federal, state, or local governmental
or regulatory agency related to or otherwise referencing the following:

        (i)     the Lawsuit;
        (ii)    the WSJ Articles;
        (iii)   the WSJ Investigation; or
        (iv)    lead-clad cables, including but not limited to their location, potential removal,
                environmental impact, or health effects.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Communications” as overly broad,

unduly burdensome and not reasonably calculated to lead to the discovery of admissible evidence.

This Request is unduly burdensome and fails the proportionality test under Rule 26(b) in part

because it is not limited to a particular time period that is relevant to the contested issues, but also

because it is not limited to the parties to this lawsuit and the issues in dispute. Finally, EDF objects

to this Request because it is overbroad and unduly burdensome in that it seeks documents that are

protected from disclosure by the attorney-client privilege or the attorney work-product doctrine,

and in that it seeks documents that are available from another source that is a party to this litigation.

        EDF is a third-party public interest organization, and its “Documents and Communications”

sought by this Request are not relevant to this lawsuit. In this respect, the Subpoena is overbroad,

unduly burdensome, and plainly intended to harass and intimidate EDF into not pursuing its core

mission of environmental protection.

Request No. 15: All Documents or writings of any nature You have disseminated to any News
Outlet regarding lead-clad cables.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents or writings of any nature”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

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admissible evidence. This Request is unduly burdensome and fails the proportionality test under

Rule 26(b) in part because it is not limited to a particular time period that is relevant to the contested

issues, but also because it is not limited to the parties to this lawsuit and the issues in dispute.

Finally, EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by a public interest reporting privilege.

        EDF is a third-party public interest organization, and the materials sought by this Request

are not relevant to this lawsuit. In this respect, the Subpoena is overbroad, unduly burdensome,

and plainly intended to harass and intimidate EDF into not pursuing its core mission of

environmental protection.

Request No. 16: All Documents prepared by You, for the benefit of You, or provided to You
concerning any Study, research or investigation on the possible or actual adverse effects of lead-
clad cables.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents” as overly broad, unduly

burdensome and not reasonably calculated to lead to the discovery of admissible evidence. This

Request is unduly burdensome and fails the proportionality test under Rule 26(b) in part because

it is not limited to a particular time period that is relevant to the contested issues, but also because

it is not limited to the parties to this lawsuit and the issues in dispute. Finally, EDF objects to this

Request because it is overbroad and unduly burdensome in that it seeks documents that are

protected from disclosure by the attorney-client privilege or the attorney work-product doctrine.

        EDF is a third-party public interest organization, and the materials sought by this Request

are not relevant to this lawsuit. In this respect, the Subpoena is overbroad, unduly burdensome,

and plainly intended to harass and intimidate EDF into not pursuing its core mission of

environmental protection.



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Request No. 17: All Documents and Communications relating to Your participation in or funding
of any test or Study related to or otherwise concerning lead-clad cables.

        Objections and Response: EDF reasserts and incorporates by reference each of its

General Objections. EDF objects to this Request seeking “All Documents and Communications”

as overly broad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence. This Request is unduly burdensome and fails the proportionality test under

Rule 26(b) in part because it is not limited to a particular time period that is relevant to the contested

issues, but also because it is not limited to the parties to this lawsuit and the issues in dispute.

Finally, EDF objects to this Request because it is overbroad and unduly burdensome in that it seeks

documents that are protected from disclosure by the attorney-client privilege, the attorney work-

product doctrine, and/or a public interest reporting privilege.

        EDF is a third-party public interest organization, and the materials sought by this Request

are not relevant to this lawsuit. In this respect, the Subpoena is overbroad, unduly burdensome,

and plainly intended to harass and intimidate EDF into not pursuing its core mission of

environmental protection.

DATED:          September 8, 2023

                                                Respectfully submitted,

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